                                                U.S. Department of Justice

                                                Federal Bureau of Prisons

                                                Federal Medical Center
Offi ce of the Warden                       3301 Leesto wn Road
                                            Lexington, KY 4 0511 - 8 799


                                            June 16, 2021

The Honorable Kevin F . McDonald
United States Magistrate Judge
District of South Carolina
300 East Washington Street , Suite 300
Greenville , South Carolina 29601

RE:    Name:      HALSEY, David Scott
       Case No .: 8 : 21-cr-00107-TMC
       Reg . No.: 26015-509

Dear Judge McDonald :

Your court order , dated May 27 , 2021 , committed David Scott Halsey to
a mental health evaluation pursuant to Title 18 , United States Code ,
Sections 4241 and 4242 , to determine his competence to stand trial
and his mental state at the time of the alleged offense ,
respectively . Mr . Halsey arrived at the Federal Medical Center
 (FMC), Lexington , Kentucky, on June 16 , 2021 . Pursuant to Title 18,
United States Code , Section 4247 , the evaluation period of 45 days
began the day he arrived at our facility . Under such a time frame ,
the evaluation would be completed by July 30 , 2021 , and a report
would be available to the Court by August 27 , 2021 .

If you have any concerns or questions regarding this case , please do
not hesitate to contact myself or Dr. Haley Wentowski at 859-255-
681 2 . We respectfully submit this notification to the Court .

                                            Sincerely ,       L
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                                            Warden
